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                                            OFFICE OF THE UNITED STATES TRUSTEE - REGION 3
                                           POST-CONFIRMATION QUARTERLY SUMMARY REPORT

                                This Report is to be submitted for all bank accounts that are presently maintained by the post confirmation debtor.


Debtor's Name:           FCC Holdings, Inc., et al                        Bank:                     Union Bank
                                                                          Account Holder Name: FCC Liquidating Trust
Bankruptcy Number:            14-11987 (CSS)                              Account Number: ** 0967 and **0942 and **0519
Date of Confirmation:         March 18, 2015                              Account Type: Consolidated Checking/Money Market

Reporting Period (month/year): July 1, 2018 - September 30, 2018 3rd Quarter 2018

                                                                                                                                      3rd Quarter          Case Inception
                                                                                                                                        To Date               To Date
                                                                                                                                       07/01/18 -            05/07/15 -
                                                                                                                                        09/30/18              09/30/18

Beginning Cash Balance:                                                                                                         $        618,189.13    $             0.00

All receipts received by the Trust:

Initial Trust Funding pursuant to the Plan:                                                                                     $               0.00   $     1,541,945.71

Additional Funding
  Closed Bank Account                                                                                                           $             0.00     $      220,745.25
  Insurance Policy Redemption                                                                                                   $             0.00     $    1,674,013.68
  Tax Refunds                                                                                                                   $             0.00     $    5,793,617.85
  Officer Litigation Settlement                                                                                                 $    15,000,000.00     $   15,000,000.00
  Other Receipts                                                                                                                $        54,430.05     $      229,493.01

Interest Income                                                                                                                 $         22,930.57    $       49,845.16

Total Cash Received:                                                                                                            $    15,077,360.62     $   24,509,660.66

Total Cash Available:                                                                                                           $    15,695,549.75     $   24,509,660.66

Less all disbursements or payments
(including payments made under the confirmed plan) made by the Trust:

Disbursements made under the plan for Debtor's Claims                                                                           $     1,100,000.00     $     5,636,635.67
Disbursements made for pre-effective date professionals and expenses                                                            $             0.00     $     1,238,488.13

Disbursements made pursuant to the administrative claims of Trust's professionals                                               $             0.00     $     1,190,570.02
Disbursements made pursuant to the administrative claims of US Trustee                                                          $         4,875.00     $        56,550.35
All other disbursements made in the ordinary course:                                                                            $     4,929,938.87     $     6,726,680.61

Total Disbursements                                                                                                             $     6,034,813.87     $   14,848,924.78

Ending Cash Balance                                                                                                             $     9,660,735.88     $     9,660,735.88


Pursuant to 28 U.S.C. Section 1746(2), I hereby declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge and belief

                                                                          By Clingman & Hanger Management Associates LLC, Trustee

10/23/2018                                                                ___________________________________
Date                                                                      By Name / Title : W. Edward Clingman Jr., Principal


Debtor:      FCC Holding’s, Inc.,et al
Case Number:    14-11987 (CSS)
Trust Name: FCC Liquidating Trust
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                                FCC LIQUIDATING TRUST

       Liabilities Not Subject to Compromise ( Postpetition Liabilities) - Other

                  Reserve for Distributions and Expenses Summary

                                                                                        1st Quarter             Case Inception
                                                                                          To Date                  To Date
                                                                                         07/01/18 -               05/07/15 -
                                                                                          09/30/18                 09/30/18

Beginning Balance                                                                   $     618,189.13        $             0.00

Initial Trust Funding pursuant to the Plan                                          $            0.00       $     1,541,945.71

Additional Funding and interest income                                              $   15,077,360.62       $   22,967,714.95


Reserve Receipts                                                                    $   15,695,549.75       $   24,509,660.66

Disbursements made under the plan for Debtor's Claims                               $   (1,100,000.00)      $    (5,636,635.67)
Disbursements made for pre-effective date professionals and expenses                $            0.00       $    (1,238,488.13)

Other Disbursements                                                                 $   (4,934,813.87)      $    (7,973,800.98)

Reserve Disbursements                                                               $   (6,034,813.87)      $   (14,848,924.78)

Ending Balance                                                                      $    9,660,735.88       $     9,660,735.88
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                                                 FCC LIQUIDATING TRUST

                                                       Balance Sheet

                                                                                               09/30/18

ASSETS

Cash                                                                                                      9,646,913.40

TOTAL ASSETS                                                                                        $     9,646,913.40

LIABILITIES

Reserve for Remaining Distributions and Expenses
  Calculation of Reserve for Remaining Distributions and Expenses
  Total Trust Funding and Interest Income                                      $   24,495,838.18

  Creditor Distributions                                                       $   (5,636,635.67)

  Disbursements made for pre-effective date professionals and expenses         $   (1,238,488.13)

   Other post-effective date disbursements                                     $   (7,973,800.98)
Total Reserve for Remaining Distributions and Expenses                                              $     9,646,913.40

TOTAL LIABILITIES - Reserve for Remaining Distributions and Expenses                                $     9,646,913.40

EQUITY                                                                                                            0.00

TOTAL EQUITY                                                                                        $             0.00

TOTAL LIABILITIES and EQUITY                                                                        $     9,646,913.40
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                                                             Trust                      Page 4 of 4
                                           Cash/Debit/Check Disbursement Details

Name of Bank                                                Union Bank
Account Number
Purpose of Account                                          Plan Receipts and Disbursements
Type of Account                                             Checking

Check      Date of
Number     Transaction   Payee                              Purpose or Description                               Amount
   ACH        07/11/18   JAMS, Inc.                         Litigation Expense                                         2,555.33
  1084        07/23/18   U. S. Trustee Payment Center       U.S. Trustee Fees - 2nd Qtr 2018                           4,875.00
   ACH        07/25/18   Fahrenheit Finance LLC             Litigation Expense                                           825.00
  Debit       07/30/18   Xenith                             Bank Fees                                                     15.00
  Debit       07/31/18   Xenith                             Bank Fees                                                     15.00
  1085        08/02/18   Barry Strickland & Co              Professional Fees - Tax Accounting                         1,932.10
  Debit       08/06/18   Xenith                             Bank Fees                                                     15.00
  Debit       08/08/18   Xenith                             Bank Fees                                                     15.00
   Wire       08/08/18   Storch Amini P.C.                  Litigation Expense                                     4,566,017.64
   ACH        08/09/18   Charles River Associates           Litigation Expense                                       129,450.71
   ACH        08/09/18   Evolver                            Litigation Expense                                         7,760.46
   ACH        08/09/18   Fronteo, formerly Evolve           Litigation Expense                                        11,816.10
  1086        08/09/18   Weissman & Dervishi, P.A.          Litigation Expense                                        28,360.77
   ACH        08/09/18   Womble Bond Dickinson (US) LLP     Professional Fees - Legal                                 11,247.43
   ACH        08/09/18   Clingman & Hanger Mgmt Assoc LLC   Telecom,Equipment, IT and Database Charges                38,757.54
   ACH        08/09/18   Clingman & Hanger Mgmt Assoc LLC   Professional Fees - Monthly Trustee Fees                  25,000.00
  1087        08/09/18   Archer Integration, LLC            Litigation Expense - Technology Support                    1,269.20
   Wire       08/15/18   Bank of Montreal                   Creditor Distribution                                 1,100,000.00
   ACH        08/20/18   Womble Bond Dickinson (US) LLP     Professional Fees - Legal                                    540.86
   ACH        09/11/18   Clingman & Hanger Mgmt Assoc LLC   Professional Fees - Monthly Trustee Fees                   5,000.00
   ACH        09/11/18   Clingman & Hanger Mgmt Assoc LLC   Telecom,Equipment, IT and Database Charges                 4,200.00
  1088        09/20/18   Weissman & Dervishi, P.A.          Litigation Expense                                           385.00
   ACH        09/20/18   Womble Bond Dickinson (US) LLP     Professional Fees - Legal                                    442.50
   ACH        09/27/18   Professional Staffing LLC          Litigation Expense - Support Services                     47,500.00
   ACH        09/27/18   Clingman & Hanger Mgmt Assoc LLC   Insurance Reimbursement                                   26,638.00
  1089        09/27/18   Archer Integration, LLC            Litigation Expense - Technology Support                   20,180.23




                                                                                                         TOTAL     6,034,813.87
